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                                                July 27,2016


 VIA ECF

 Clerk of the Court
 United States District Court for the Eastern District of New York
 225 Cadman Plaza E,
 Brooklyn, NY 1120 I

        RE:     Liberty Mutual Fire Insurance Company et al. v. Elite Medical Supply of
                New York, LLC
                I: 16-cv-01766-MKB-CLP

 Dear Sir or Madam:

 I am an attorney admitted and registered for electronic filing in this court, appearing as counsel
 of record representing the Defendant in connection with the above-referenced matter.

 Please be advised that Nicole Mastropieri, Esq. is no longer with the firm of Nixon Peabody
 LLP and should be terminated as Attorney to be Noticed via ECF for this case.

 If you need further information, please do not hesitate to contact me.

 Thank you for your attention to this matter.


 Respectfully submitted,

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  s! Sheldon K. Smith

 Sheldon K. Smith

                                                                     /s/ Cheryl Pollak
